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                    EXHIBIT 4
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                          DEPARTMENT OF DEFENSE EDUCATION ACTIVITY
                                      HEADQUARTERS
                                              4800 MARK CENTER DRIVE
                                             ALEXANDRIA, VA 22350-1400



                                                                                        February 5, 2025

 MEMORANDUM FOR DODEA DIRECTORS FOR STUDENT EXCELLENCE
                 DODEA CHIEFS OF INSTRUCTIONAL LEADERSHIP DEVELOPMENT
                 DODEA DISTRICT SUPERINTENDENTS
                 DODEA COMMUNITY SUPERINTENDENTS
                 DODEA REGION CHIEFS OF STAFF
                 DODEA PRINCIPALS
                 DODEA ASSISTANT PRINCIPALS
                 DODEA REGIONAL INFORMATION CENTER INSTRUCTIONAL
                    SYSTEMS SPECIALISTS

 SUBJECT: Administrative Operational Compliance Review of Books Related to Gender and/or
           Discriminatory Equity Ideology Topics

          In light of the recent Executive Orders titled "Defending Women from Gender Ideology
 Extremism and Restoring Biological Truth to the Federal Government" and “Ending Radical
 Indoctrination in K-12 Schooling,” DoDEA will conduct an operational compliance review to ensure
 alignment with the applicable Executive Orders. As part of this review, Information Center books
 potentially related to gender ideology or discriminatory equity ideology topics as defined in the Executive
 Orders will be relocated to the professional collection for evaluation. During this period, access will be
 limited to professional staff. Information Specialists are expected to implement this directive
 immediately.

           Principals must ensure that Information Specialists are released from scheduled classes to
 complete this task during their duty day. If substitutes are required, please contact your regional
 Information Center Instructional Systems Specialist. Once identified, Information Specialists must submit
 the list of relocated books to Ms. Jude Scally, Headquarters Information Center Instructional Systems
 Specialist, and update the MARC records to reflect the revised call numbers.

         We will provide further guidance upon receipt of official instructions. As a federal agency, we are
 committed to compliance with the Executive Orders and will ensure our policies and practices align
 accordingly.

         For questions, Information Specialists may contact Jude Scally via email at
 jude.scally@dodea.edu.
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                                                          Ms. Lori Pickel
                                                          Acting Chief Academic Officer

 cc:
 President, ACEA
 President, FEA
 Director, FEA-SR
 President, OFT
